Case 2:16-cv-13822-BAF-EAS ECF No. 20 filed 05/09/17                 PageID.800       Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

JAMES R. JOHNSON,

       Plaintiff,                                           Civil Action No. 16-CV-13822

vs.                                                         HON. BERNARD A. FRIEDMAN

COMMISSIONER OF
SOCIAL SECURITY,

      Defendant.
____________________/

                                          JUDGMENT

               The Court in this matter has issued an opinion and order granting plaintiff’s motion
for summary judgment, denying defendant’s motion for summary judgment, and remanding for
further proceedings. Accordingly,

                IT IS ORDERED AND ADJUDGED that judgment be and is hereby granted for
plaintiff and against defendant.

               IT IS FURTHER ORDERED AND ADJUDGED that this matter is hereby remanded
to defendant for further proceedings in accordance with the Court’s opinion and order. This is a
sentence four remand under 42 U.S.C. § 405(g).

                                                     DAVID J. WEAVER
                                                     CLERK OF COURT

                                                     By:__ Carol L. Mullins___
                                                                   Deputy Clerk
May 9, 2017


Approved:__s/ Bernard A. Friedman_________
         BERNARD A. FRIEDMAN
         SENIOR U.S. DISTRICT JUDGE
